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                     IN THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH

  UNITED STATES OF AMERICA,

        Plaintiff,                                    Case No. 1:24-CR-00038

        vs.                                        STIPULATED MOTION TO
                                                       REASSIGN CASE
  KENTRELL DESEAN GAULDEN,
  (akas “YoungBoy Never Broke Again,”               Judge Howard C. Nielson, Jr.
  “NBA YoungBoy,” and “YB”),

        Defendant.


      Pursuant to Rule 13 of the Federal Rules of Criminal Procedure and DUCrimR 57-

3(a), the United States of America moves this Court to reassign case number 1:24-CR-

00038, which is currently assigned to Judge Howard C. Nielson, Jr., to Judge David B.

Barlow. Such reassignment is appropriate because the defendant has another case

pending with Judge Barlow (2:24-CR-00270). Reassignment of case number 1:24-CR-

00038 to Judge Barlow will allow for efficient resolution of both cases, which would

benefit both the government and the defendant, as well as promote efficient court


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operations. Counsel for the defendant, Mr. Jeremy Delicino and Mr. Jon Williams, have

stipulated to this motion.

       Based on the foregoing, the United States therefore requests that case number

1:24-CR-00038 be reassigned to Judge Barlow. A notice of this Motion will also be filed

in case number 2:24-CR-00270.

       DATED this 20th day of August, 2024.

                                                TRINA A. HIGGINS
                                                United States Attorney


                                                _________________________________
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                                                Assistant United States Attorney

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